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 1   DAVID A. TORRES AND ASSOCIATES
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     Bakersfield, CA 93301
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 4   Email: dtorres@lawtorres.com
 5   Attorney for:
     ALFONSO RIOS AYON
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT of CALIFORNIA
 8

 9                                                 ) Case No.: 16-CR-00096LJO-SKO
     UNITED STATES OF AMERICA,                     )
10                                                 ) STIPULATION AND ORDER TO
                   Plaintiff,                      ) CONTINUE THE SENTENCING DATE
11                                                 )
            vs.                                    )
12                                                 )
     ALFONSO RIOS-AYON,                            )
13                                                 )
                   Defendant                       )
14
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
15
     LAWRENCE J. O’NEILL AND BRIAN DELANEY, ASSISTANT UNITED STATES
16
     ATTORNEY AND MEGAN PASCUAL, UNITED STATES PROBATION DEPARTMENT:
17
            Defendant, ALFONSO RIOS-AYON, by and through his attorney of record, DAVID A.
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     TORRES hereby requests that the sentencing hearing currently set for Monday, June 12, 2017 be
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     continued to Monday, August 14, 2017.
20
            On Monday, April 10, 2017, a probation interview was schedule between Mr. Rios-Ayon,
21
     myself and USPO Megan Pascual. Due to a mistake on my part, I inadvertently miscalendared
22
     the interview time. As such. the interview was rescheduled. Because of the rescheduling, Ms.
23
     Pascual and I agreed to extend the sentencing date so long as the assigned AUSA was in
24
     agreement. I have spoken to Mr. Delaney and he does not object to continuing the sentencing.
25
            //



                         Stipulation and Proposed Order to Continue Sentencing
                                                   1
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 1

 2         IT IS SO STIPULATED.

 3                                                         Respectfully Submitted,

 4   DATED: 4/25/17                                        /s/ David A Torres        ___
                                                           DAVID A. TORRES
 5                                                         Attorney for Defendant
                                                           ALFONSO RIOS AYON
 6

 7

 8   DATED: 4/25/17                                        /s/Brian Delaney____________
                                                           BRIAN DELANEY
 9                                                         Assistant U.S. Attorney

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11

12                                          ORDER

13
     IT IS SO ORDERED.
14

15      Dated:   April 25, 2017                      /s/ Lawrence J. O’Neill _____
                                            UNITED STATES CHIEF DISTRICT JUDGE
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                      Stipulation and Proposed Order to Continue Sentencing
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